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Attorney for Plaintiff
United States of America

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

United States of America, SUPERSEDING INDICTMENT
Plaintiff, 2:16-cr-.57-LRH-VCF
v.
Jihad Anth°ny Z°gheib’ Wire Fraud__is U.s.o. § 1343
Defendant_ rMoney Laundering-IS U.S.C. § 1957

 

 

 

 

THE GRAND JURY CHARGES THAT:

Counts ()ne through Eight -
(Wire Fraud)

1. From in or about 2010, to in or about 2013, in the State and Federal

District of Nevada,
Jihad Anthony Zogheib,

defendant herein, did devise and intend to devise a scheme and artifice to defraud
and for obtaining money and property by means of materially false and fraudulent
pretenses, representations and promises.

2. The objective of the scheme and artifice Was for Zogheib to
fraudulently obtain money from people by falsely and fraudulently representing to

them that he would use their money for business purposes when he then and there

 

 

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well knew he would use the money for his personal use. Allegations pertaining to
some of the people from whom Zogheib fraudulently obtained money as part of the
scheme and artifice are set forth below.

_K._l_i_.

3. Zogheib falsely represented to K.L. that he had millions of dollars at
his disposal and would invest some of that money in a mobile crane business With
K.L.

4. On or about February 24, 2011, Zogheib signed and caused K.L. to sign
a Letter of Intent stating that, among other things: (1) Zogheib and K.L. Would form
a mobile crane company and a mobile crane leasing company; (2) Zogheib would
fund the mobile leasing company with up to $10 million dollars; (3) K.L. would pay
Zogheib $280,000; (4) Zogheib would Wire $180,000 to a crane company for as a
deposit; and (5) Zogheib would pay to another company the balance owed on another
crane.

5. Additionally, Zogheib falsely represented to K.L. that the United
States government had placed a hold on the millions of dollars held in an overseas
account and that if K.L. provided Zogheib with money, Zogheib would use it to
satisfy the hold.

6. Relying on Zogheib’s materially false and fraudulent representations,
on or about February 24, 2011, K.L. sent $280,000 to Zogheib, and on or about ‘
February 25, 2011, K.L. sent $268,000 to Zogheib,

7 . Zogheib presented to K.L. a fictitious document claiming that he had 1
transferred $180,000 to a crane company from an account that held more than $3.3
million when Zogheib then and there well knew he had not transferred the money

and the account did not hold the more than $3.3 million.

 

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8. On or about the same day Zogheib received the $280,000 from K.L., he
obtained and caused to be obtained a cashier’s check in the amount of $250,000 and
negotiated it at a local casino. l

9. On or about the same day Zogheib received the $268,000 from K.L.,
Zogheib caused a cashier’s check to be obtained in the amount of $253,000 and used
it to partially repay victim, K.W. money he had fraudulently obtained from K.W.

10. From in or about November 2010 to in or about February 2011,
Zogheib solicited K.W. to invest in Zogheib’s real estate business, claiming to be in
the business of flipping real properties.

11. Relying on these and other materially false and fraudulent
representations, Zogheib caused K.W. n to give him a total of approximately
$1,040,000 on five separate occasions

12. On or about February 25, 2011, Zogheib paid K.W. $253,000 Zogheib
had obtained by fraud from K.L, as stated above.

13. On or about April 4, 2011, Zogheib sent and caused to be sent an email
to a law office in which he forwarded an email he had purportedly received from a
financial institution, which email represented that Zogheib would be receiving more
than $6 million dollars within 30 days. Zogheib then and there Well knew the email
he purportedly forwarded to the law office was materially false and fraudulent.
Zogheib sent this email to the law office for the purpose of lulling K.W. into
believing that Zogheib’s business activities were legitimate, concealing his scheme
and artifice from K.W., and deterring K.W. from taking further action against him.

14. On or about May 10, 2011, Zogheib sent to K.W. another fictitious
email he claimed to have received from another financial institution purportedly
showing that Zogheib had received more than $6 million dollars and that the money

would be available after Zogheib paid a transfer tax. Zogheib also sent and caused

 

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to be sent this email to K.W. for the purpose of lulling K.W. into believing that
Zogheib’s business activities were legitimate, concealing his scheme and artifice
from K.W., and deterring K.W. from taking further action against him.

_P._N

15. From in or about March 2013 to in or about August 2013, Zogheib
solicited P.N. to invest in Zogheib’s real estate business, falsely claiming to be in the
business of flipping real properties. Zogheib made materially fraudulent
representations to P.N. that Zogheib had won bids for and had in escrow numerous
real properties. Zogheib further falsely represented to P.N. that P.N. could invest in
the purchase and rehabilitation of those properties, and P.N. would receive a split of
the profits when the real properties were sold. `

16. Relying on these and other materially fraudulent representations,
Zogheib caused P.N. to give him a total of approximately $367,475 on four separate
occasions.

17. On or about April 4, 2013, Zogheib emailed P.N. and P.N.’s agents a
signed promissory note containing a materially false promise by Zogheib to use
$100,000 provided by P.N. to invest in real estate. Zogheib then and there knew
that his promise was false and he intended to use the money for purposes other
than real estate investment. In reliance on Zogheib’s materially l false
representations, P.N. provided Zogheib a cashier’s check for $100,000

18. In or about, April 2013, Zogheib knowingly made additional fraudulent
material misrepresentations to P.N., claiming that Zogheib had additional real
properties P.N.` could invest in. Zogheib then and there knew that his
representations were false and that he intended to use the money for purposes other
than real estate investment ln reliance on those materially false

misrepresentations, P.N. provided two Wire transfers of money to Zogheib: (1) an

 

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April 15, 2013, $65,000 Wire transfer to an account controlled by Zogheib; and (2) an
April 16, 2013, $120,000 wire transfer to an account controlled by Zogheib,

19. In or about June 2013, in order to fraudulently obtain additional
money from P.N., to lull P.N. into believing that Zogheib’s business activities were
legitimate, to conceal his scheme and artifice from P.N., and to deter P.N. from
taking further action against him, Zogheib knowingly and with the intent to
defraud P.N. sent emails containing false and fictitious documents relating to
Zogheib’s purported business activities

20. On or about June 23, 2013, Zogheib, knowing that it was materially
false and fictitious,, emailed P.N. and P.N.’s agents a list of real properties that
Zogheib materially and fraudulently represented to have been won by him at
auction and invested in with P.N.’s money, Zogheib fraudulently represented that if
P.N. gave additional money to Zogheib, P.N.’s previously invested money could be
released and returned to P.N. Zogheib then and there knew that his representations
were materially false and fraudulent and he intended to use the money for purposes
other than obtaining the return of P.N.’s money.

21. On or about June 25, 2013, Zogheib forwarded an email to P.N. and
P.N.’s agents containing a purported email from “CJ Lillo” of auction.com, in which
“CJ Lillo” confirmed $550,000 would be released from escrow into an account
established by Zogheib, Zogheib then and there knew that the email was false and
fictitious Zogheib further made material misrepresentations that P.N.’s previously
invested money would be returned if P.N. provided additional money to Zogheib. ln
reliance on Zogheib’s materially fraudulent representations, P.N. sent a wire
transfer of $82,475 to an account controlled by Zogheib,

22. On or about the dates set forth below, for the purpose of executing the
scheme and artifice, Zogheib did transmit and cause to be transmitted by means of

wire communication in interstate commerce, certain writings, signs, signals,

 

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pictures, and sounds,

that is the items described below, with each wire

 

 

 

 

 

 

 

 

communication constituting a separate violation of 18 U.S.C. § 1343.
Count Date Description

1 2/24/11 $280,000 Wire Transfer from Bank of America (NY) to
JP Morgan Chase (WA)

2 2/25/11 $268,000 Wire Transfer from US Bank (NV) to JP
Morgan Chase (WA)

3 2/25/11 Email from Zogheib to attorney forwarding fictitious
bank record showing that transfer of $180,000 was
scheduled to a crane company from an account With a
balance of more than $3.3 million.

4 4/4/11 Email from Zogheib to a law office via grnail.com,
forwarding the fictitious email from a financial
institution dated 4/1/11.

5 5/10/11 Email from Zogheib to K.W. via gmail.com, forwarding
the fictitious email from a financial institution dated
5/10/11. '

6 4/15/13 $65,000 wire transfer from City National Bank (CA) to
Mountain America Credit Union (UT)

7 4/16/13 $120,000 wire transfer from City National Bank (CA) to
Mountain America Credit Union (UT)

 

 

 

 

 

 

 

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$82,475 wire transfer City National Bank (CA) to

8 6/25/13 Mountain America Credit Union (UT)

 

 

 

 

 

Counts Nine and Ten
(Money Laundering)

23. The allegations set forth in Counts One through Eight are incorporated
herein as if set forth in full.

24. On or about the dates listed below, in the District of Nevada,

Jihad Anthony Zogheib,

defendant herein, did knowingly engage and attempt to engage in a monetary
transaction by and through a financial institution, affecting interstate commerce, in
criminally derived property of la value greater than $10,000, as described in each
count below, such property having been derived from a specified unlawful activity,
that is, wire fraud as that crime in defined in Title 18, United States Code, Section
1343.

In violation of Title 18, United States Codes, Sections 1957 and 2.

 

Count Date Description

 

Zogheib purchased a $250,000 cashier’s check from a

 

9 2/24/2011 financial institution (and later negotiated it at a local
casino)
10 2/25/11 Zogheib purchased and caused to be purchased a

$253,000 cashier’s check from a financial institution.

 

 

 

 

 

 

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Forfeiture Allegation One
(Wire Fraud and Money Laundering)

_ 25. The allegations contained in Counts One through Ten of this
Superseding Indictment are hereby realleged and incorporated herein by reference
for the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(0).

26. Upon conviction of any of the felony offenses charged in Counts One
through Thirteen of this Superseding Indictment,

Jihad Anthony Zogheib,
defendant herein, shall forfeit to the United States of America, any property, real or
personal, which constitutes or is derived from proceeds traceable to violations of
Title 18, United States Code, Sections 1343 and 1957 , specified unlawful activities
as defined in Title 18, United States Code, Sections 1956(0)(7)(A) and 1961(1)(B), or
a conspiracy to commit such offenses, an in personam criminal forfeiture money
judgment including, but not limited to, at least $815,47 5 (property).

27. If any property being subject to forfeiture pursuant to Title 18, United
States Code, Section 981(a)(1)(C) with Title 28, United States Code, Section-2461(c),
as a result of any act or omission of the defendant -

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficulty;

it is the intent of the United States of America, pursuant to Title 21, United States
Code, Section 853(p), to seek forfeiture of any properties of the defendant for the in
personam criminal forfeiture money judgment including, but not limited to, at least

$815,475.

 

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All pursuant to Title 18, United States Code, Section 981(a)(1)(C) with Title
28, United States Code, Section 2461(0); Title 18, United States Code, Sections 1343
and 1957; and Title 21, United States Code, Section 853(p).

Forfeiture Allegation Two
(Money Laundering)

28, The allegations contained in Counts Nine and Ten of this Superseding
Indictment are hereby realleged and incorporated herein by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
981(a)(1)(A) with Title 28, United States Code, Section 2461(0).

29. Upon conviction of any of the felony offenses charged in Counts Twelve
and Thirteen of this Superseding Indictment,

Jihad Anthony Zogheib,
defendant herein, shall forfeit to the United States of America, any property, real or
personal, involved in transactions or attempted transactions in violation of Title 18,
United States Code, Section 1957, or any property traceable to such property, an in
personam criminal forfeiture money judgment including, but not limited to, at least
$503,000 (property).

30. If any property subject to forfeiture pursuant to Title 18, United States
Code, Section 981(a)(1)(A) with Title 28, United States Code, Section 2461(0), as a
result of any act or omission of the defendant-

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in Value; or

e. has been commingled with other property which cannot be divided

without difficulty;

 

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it is the intent of the United States of America, pursuant to Title 21, United States
Code, Section 853(p), to seek forfeiture of any properties of the defendant for the in
personam criminal forfeiture money judgment including, but not limited to, at least '
$503,000.

All pursuant to Title 18, United States Code, Section 981(a)(1)(A) with Title
28, United States Code, Section 2461(0); Title 18, United States Code, Section 1957;
and Title 21, United States Code, Section 853(p).

Forfeiture Allegation Three
(Money Laundering)

31. The allegations contained in Counts Nine and Ten of this Superseding
Indictment are hereby realleged and incorporated herein by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section
982(a)(1).

32. Upon conviction of any of the felony offenses charged in Counts Twelve
and Thirteen of this Superseding Indictment,

Jihad Anthony Zogheib,
defendant herein, shall forfeit to the United States of America, any property, real or
personal, involved in violations of Title 18,_ United States Code, Section 1957 , or any
property traceable to such property, an in personam criminal forfeiture money
judgment including, but not limited to, at least $503,000 (property).

33. lf any property subject to forfeiture pursuant to Title 18, United States
Code, Section 982(a)(1), as a result of any act or omission of the defendant-

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

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e. has been commingled with other property which cannot be divided
Without difEculty; .
it is the intent of the United States of America, pursuant to Title 21, United States
Code, Section 853(p), to seek forfeiture of any properties of the defendant for the in
personam criminal forfeiture money judgment including, but not limited to, at least
$503,000.
All pursuant to Title 18, United States Code, Section 982(a)(1); Title 18,
United States Code, Section 1957 ; and Title 21, United States Code, Section 853(p).

I)ATED:v this 30th day OfMarch,'zois.
A TRUE BILL=

/S/
GRAND JURY FOREPERSON

DA`NIEL G. BoGDEN
United States Attorney

PATRICK BURNS
Assistant United States Attorney

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